                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION


GEICO GENERAL INSURANCE COMPANY, et al., )
                                                 )
                     Plaintiff(s),               )
                                                 )
vs.                                              ) Case No. 22-00082-CV-W-FJG
                                                 )
                                                 )
M.O., et al.,                                    )
                                                 )
                     Defendant(s).               )


                                      ORDER

        The Court notes that discovery in this matter is set to close on August 15, 2022.

The parties are reminded that the Court=s Scheduling and Trial Order provides: close of

discovery means that all discovery, including the taking of depositions, shall be completed

not simply submitted on the date specified by this paragraph. Any last minute discovery

submitted too late for the opposing side to timely discover may be stricken.@ See Doc.

No. 114. The parties are cautioned that if they wish the Court to extend the discovery

deadline, they must file a motion for extension of time demonstrating good cause for the

extension sought. See Fed. R. Civ. P. 16(b)(4).



        IT IS SO ORDERED.
                                                  /s/ FERNANDO J. GAITAN, JR.
                                                 Fernando J. Gaitan, Jr.
                                                 United States District Judge

Dated: July 5, 2022
Kansas City, Missouri




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